                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN

In re:
                                                              Case No. 23-49817-mar
Residents First, LLC,                                         Chapter 11
                                                              Hon. Mark A. Randon
         Debtor.

_____________________________________/

                   DEBTOR’S MOTION TO DISMISS CHAPTER 11 CASE

          Residents First, LLC (“Debtor”) through counsel, for its Motion to Dismiss

Chapter (“Motion”), states:

                          JURISDICTION AND BACKGROUND

         1.    On November 8, 2023 (“Petition Date”), Debtor commenced a

voluntary case under chapter 11 of title 11 of the United States Code.

         2.    The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334.

         3.    This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b).

         4.    Venue of this proceeding and the Motion in this District is proper under

28 U.S.C. §§ 1408 and 1409.

         5.    Debtor is a property management company, managing six separate

manufactured mobile housing communities. Debtor handles all leasing, rent

collection, maintenance, landscaping, utilities, customer relations, and all other aspects




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relating to maintenance and management of the communities. The communities are

each related companies owned by Founding Partners, LLC (“Founding Partners”),

and minority owned indirectly by Debtor’s principal, Ara Darakjian (“Mr. Darakjian”)

along with various relatives of Mr. Darakjian and certain related trusts.

      6.     Mr. Darakjian also controls Reliance Home Services, LLC (“RHS”) and

Residential Investment Group, LLC (“RIG”).

      7.     Debtor filed its proposed a proposed Subchapter V Plan of

Reorganization (“Plan”). ECF No. 73.

      8.     Champion Home Builders, Inc. (“CHB”) and the United States Trustee

(“US Trustee”) filed objections to the Plan. ECF Nos. 97 and 98.

      9.     CHB and the US Trustee each also filed motions to convert the case

from Chapter 11 to a under Chapter 7 of the Code. ECF Nos. 105 and 119.

      10.    On April 22, 2024, the Court ordered mediation regarding confirmation

of Debtor’s proposed Plan.

      11.    The Debtor, CHB and the Subchapter V Trustee participated in the

mediation. At the mediation, they entered into a settlement term sheet resolving the

claims of CHB with support from Mr. Darakjian, RHS and RIG, but contingent,

among other things, on dismissal of this Chapter 11 case.

      12.    Since the execution of the term sheet, Debtor and CHB have entered

into a definitive settlement agreement (“Settlement Agreement”), also contingent on



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dismissal of this case, and Mr. Darakjian, RHS and RIG are working with CHB to

finalize ancillary guaranty and security agreements to support the settlement.

        13.   Debtor submits that dismissal of the case is likely to resolve all

outstanding issues in this case, and in particular, the claims of CHB, the Plan and Plan

objections, and the outstanding motions to convert the case to a Chapter 7 case.

        14.   Concurrently with filing of this Motion, Debtor intends to withdraw its

Plan.

                                 REQUEST TO DISMISS

        15.   Debtor requests that this case be dismissed under 11 U.S.C. § 1112 to

permit Debtor to complete its obligations under the Settlement Agreement.

                            LEGAL BASIS FOR DISMISSAL

        16.   Under 11 U.S.C. § 1112(b), any party in interest may request that the

Court dismiss or convert a Chapter 11 case.

        17.   Upon the filing of a motion to dismiss a case under 11 U.S.C. § 1112(b),

the Court shall dismiss or convert the case, whichever is in the best interests of

creditors, unless the Court determines that dismissal or conversion is not in the best

interests of creditors and the Court makes the findings required under 11 U.S.C. §

1112(b)(2)(A) and (B).

        18.   Debtor submits that dismissal is in the best interests of Debtor, Debtor’s

estate, and all Debtor’s creditors.



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       19.    As set forth above, Debtor has entered into the Settlement Agreement

with CHB which is contingent on dismissal. Dismissal will, therefore, remove the

contingency to the Settlement Agreement and permit Debtor to complete its

obligations under the Settlement Agreement thereby resolving CHB’s claims in full.

       20.    Dismissal will also resolve all on-going disputes regarding the motions to

convert filed by CHB and the US Trustee and litigation regarding confirmation of

Debtor’s Plan.

       21.    Further, Debtor has agreed to settlement terms with True North

Asphalt, LLC, one of Debtor’s larger unsecured creditors that appeared at the initial

hearing to consider confirmation of Debtor’s Plan, which settlement will also be

facilitated through dismissal of the case.

       22.    No other creditors besides CHB and True North objected to Debtor’s

Plan or appeared at the initial Plan confirmation hearing.

       23.    Debtor submits that no creditors or other parties in interest will be

prejudiced by dismissal. Upon dismissal, Debtor will operate its business in the

ordinary course, and all Debtor’s creditors will have the rights and interests as

provided under non-bankruptcy law.

                        DISCUSSIONS WITH OTHER PARTIES

       24.    At a hearing held on July 8, 2024, Debtor informed the Court, CHB, the

US Trustee and the Subchapter V Trustee that it would be filing this Motion.



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      25.    CHB, the US Trustee and Subchapter V Trustee have indicated

contingent support for the Debtor’s request to dismiss this case. Debtor understands

that CHB’s support is contingent on finalizing the ancillary support agreements with

Mr. Darakjian, RHS and RIG; the US Trustee’s support is contingent on Debtor filing

all monthly operating reports that come due before entry of an order dismissing the

case and Debtor otherwise continuing to comply with its obligations as debtor-in-

possession; and the Subchapter V Trustee’s support is contingent on allowance and

payment of administrative expense fees, including professional fees, before entry of an

order dismissing the case. All parties have reserved the right to object to dismissal or

to the specific terms of the dismissal order, and to request conversion if appropriate

under the circumstances.

      WHEREFORE, Debtor requests that this Honorable Court dismiss this

Chapter 11 case. A proposed order is attached as Exhibit 1.


                                         Respectfully submitted,

                                         HEILMAN LAW PLLC

Dated: July 15, 2024                     By: /s/ Ryan D. Heilman
                                         Ryan D. Heilman (P63952)
                                         Attorneys for Debtor
                                         40900 Woodward Ave., Suite 111
                                         Bloomfield, MI 48304
                                         (248) 835-4745
                                         ryan@heilmanlaw.com




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                                 EXHIBIT LIST



        EXHIBIT 1            Proposed Order

        EXHIBIT 2            Notice of the Motion

        EXHIBIT 3            N/A

        EXHIBIT 4            Certificate of Service
        EXHIBIT 5            N/A

        EXHIBIT 6            N/A




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                            EXHIBIT 1
                          Proposed Order




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                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In re:
                                                            Case No. 23-49817-mar
Residents First, LLC,                                       Chapter 11
                                                            Hon. Mark A. Randon
         Debtor.

_____________________________________/

          ORDER DISMISSING CHAPTER 11 BANKRUPTCY CASE

         This matter having come before the Court on the Debtor’s Motion to

Dismiss Chapter 11 Case; Debtor having provided appropriate notice of the Motion

and all objections filed, if any, having been voluntarily withdrawn or overruled; the

Court having determined that dismissal or conversion is appropriate under 11

U.S.C. § 1112(b) and that, between conversion and dismissal, dismissal is in the

best interests of creditors and the estate; and the Court being fully advised in the

premises;

         IT IS HEREBY ORDERED that this Chapter 11 Bankruptcy Case is

dismissed, subject to the terms of this Order.

         IT IS FURTHER ORDERED that this Court retains jurisdiction to review

and approve all claims for allowance of professional fees incurred after the filing

of the Chapter 11 case and before entry of this Order, to the extent final orders

have not been entered regarding allowance of professional fees before entry of this

Order. All allowed claims for professional fees shall be administrative expense


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claims under 11 U.S.C. § 507(a)(2) and will retain such priority in the event of any

subsequent bankruptcy filing, reopening of this case, or subsequent conversion of

this case to a case under Chapter 7 of the United States Bankruptcy Code.




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                                EXHIBIT 2
                                 Notice




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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

In re:
                                                                Case No. 23-49817
Residents First, LLC,                                           Chapter 11
                                                                Hon. Mark A. Randon
     Debtor.
_______________________________________/

           NOTICE OF DEBTOR’S MOTION TO DISMISS CHAPTER 11 CASE

      Residents First, LLC (“Debtor”), has filed papers with the Court seeking entry of
an order DISMISSING this Chapter 11 case (“Motion”).

      Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.)

       If you do not want the court to grant the relief requested in the Motion, or if you
want the court to consider your views on the Motion, within 21 days (or such other date
as ordered by the Court), you or your attorney must:

1.             File with the court a written response or an answer, 1 explaining your
               position at:

                              United States Bankruptcy Court
                                    211 W. Fort Street
                                     Detroit, MI 48226

               If you mail your response to the court for filing, you must mail
               it early enough so the court will receive it on or before the
               date stated above. All attorneys are required to file
               pleadings electronically.



         You must also mail a copy to:

                      Heilman Law PLLC
                      Attn: Ryan D. Heilman
                      40900 Woodward Ave., Suite 111
                      Bloomfield Hills, MI 48304



1Any response or answer must comply with F. R. Civ. P. 8(b), (c) and (e).




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2.          If a response or answer is timely filed and served, the clerk will schedule a
            hearing on the motion and you will be served with a notice of the date,
            time and location of the hearing. The Court has already indicated that a
            hearing date on the Motion may be held on August 12, 2024 at 11:00
            a.m. to be held in-person at 211 W. Fort St., Room 1825, Detroit,
            Michigan 48226. This hearing may be canceled if no objections are filed,
            or may be adjourned from time to time.

      If you or your attorney do not take these steps, the court may decide that
you do not oppose the relief sought in the motion or objection and may enter an
order granting that relief.




                                        Respectfully submitted,

                                        HEILMAN LAW PLLC

Dated: July 15, 2024                    By:    /s/ Ryan D. Heilman
                                        Ryan D. Heilman (P63952)
                                        Attorneys for Debtor
                                        40900 Woodward Ave., Suite 111
                                        Bloomfield, MI 48304
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                                        ryan@heilmanlaw.com




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                           EXHIBIT 4
                     Certificate of Service




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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

In re:
                                                                 Case No. 23-49817-mar
Residents First, LLC,                                            Chapter 11
                                                                 Hon. Mark A. Randon
     Debtor.
_______________________________________/

                               CERTIFICATE OF SERVICE

I, Ryan D. Heilman, hereby certify that on July 15, 2024, I caused a copy of the Debtor’s
Motion to Dismiss Chapter 11 Case (“Motion to Dismiss”) to be filed via the Court’s
Electronic Case Filing (ecf) system, and the ecf system sent notice of the Motion to
Dismiss to all parties registered to receive electronic notification via the ecf system,
including those set forth below as ECF Recipients. I further certify that on July 15, 2024,
I caused notice of the Motion to Dismiss (“Notice”) to be filed via the ecf system as an
Exhibit to the Application, and the ecf system delivered the Notice to all persons that
have filed appearances in this case listed below as ECF Recipients. I further certify that
copies of the Notice was served on all creditors and parties-in-interest not receiving
notice via the ecf system at the addresses set forth below designated as Service By
Mail.


ECF Recipients:

Kelley Callard (UST) on behalf of U.S. Trustee Andrew R. Vara
Kelley.Callard@usdoj.gov

Kimberly Ross Clayson on behalf of Creditor Champion Home Builders, Inc.
kclayson@taftlaw.com, ttorni@taftlaw.com;DET_Docket_Assist@taftlaw.com

Cheryl Cook on behalf of Creditor Santander Consumer USA Inc. dba Chrysler Capital as
servicer for CCAP Auto Lease Ltd.
bknotices-edm@potestivolaw.com

Clifford Garfield Cooper, II on behalf of Creditor True North Asphalt, LLC
ccooper@clarkhill.com

Deborah L. Fish
dfish@allardfishpc.com, MI56@ecfcbis.com

Stuart A. Gold
trusteegold@glmpc.com, MI33@ecfcbis.com




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Stuart A. Gold on behalf of Mediator Stuart A. Gold
sgold@glmpc.com, sgold@ecf.courtdrive.com

Ryan D. Heilman on behalf of Debtor In Possession Residents First, LLC
ryan@heilmanlaw.com, cindy@heilmanlaw.com

Jacob Daniel High on behalf of Creditor Ally Bank Lease Trust
jacob@jacobhighlaw.com, mi.ecf@aisinfo.com

Charles A. Lawler on behalf of Creditor True North Asphalt, LLC
clawler@clarkhill.com, kthomas@clarkhill.com

Todd J Ruchman on behalf of Creditor JPMorgan Chase Bank, N.A.
tjruchman@manleydeas.com

Mark J. Van Epps on behalf of Creditor AR Landscape & Stone, Inc.
mvanepps@vaneppslaw.com, mowk@hotmail.com

Jay L. Welford on behalf of Creditor Champion Home Builders, Inc.
jwelford@taftlaw.com, ttorni@taftlaw.com;DET_Docket_Assist@taftlaw.com



Service By Mail:

AMBS Message Center
338 West Franklin St.
Jackson, MI 49201-2119

AT&T
P.O.Box 6463
Carol Stream, IL 60197-6463

Ally Bank Lease Trust
c/o AIS Portfolio Services, LLC
4515 N Santa Fe Ave
Oklahoma City, OK 73118-7901

Ally Financial 6716 Grade Lane
Suite 910 Bldg. 9
Louisville, KY 40213-3410

AmRent
P.O. Box 640495
Pittsburgh, PA 15264-0495



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avidxchange
1210 AvidExchange Lane
Charlotte, NC 28206-3560

Blue Cross Blue Shield of Michigan
1250 W 14 Mile Rd
Troy, MI 48083-1030

CCAP Auto Lease Ltd.
P.O. BOX 961275
FORT WORTH, TX 76161-0275

Capital One
1680 Capital One Drive
Mc Lean, VA 22102-3407

Capital One
P.O. Box 4069
Carol Stream, IL 60197-4069

Capital One N.A.
by American InfoSource as agent
PO Box 71083
Charlotte, NC 28272-1083

JPMORGAN CHASE BANK N A
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

Chrysler Capital
3000 Kellway Drive Suite 120
Carrollton, TX 75006-3356

Creative Benefits & Insurance Solutions
45170 Cass Avenue
Utica, MI 48317-5507

GreatAmerica Financial Services Corporation
ATTN: Peggy Upton
P.O. Box 609
Cedar Rapids, IA 52406-0609

Heirloom Hospitality
217 Pierce Street
Suite 207
Birmingham, MI 48009-6048



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Home Depot Credit Services
Dept. 32 2223154158
P.O. Box 70614
Philadelphia, PA 19176-0614

INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
P O BOX 7346
PHILADELPHIA PA 19101-7346

Jerry’s Manufactured Home Removal, LLC
c/o Mark Van Epps
318 N Water St
Owosso MI 48867-2810

London Computer Systems (LCS)
9140 Waterstone Boulevard
Cincinnati, OH 45249-7501

Markel Insurance
4521 Highwoods Parkway
Hallieford, VA 23068

McChesney Electric, Inc
22036 Woodward Avenue
Ferndale, MI 48220-2521

Michigan Secretary of State
One Division N.W.
Grand Rapids, MI 49503-3132

OKLAHOMA TURNPIKE AUTHORITY
3500 N MARTIN LUTHER KING AVE
OKLAHOMA CITY OK 73111-422

OTA - PlatePay
3500 Martin Luther King Blvd.
Oklahoma City, OK 73111-4221

Paletz Law
2800 Livernois Road
Troy, MI 48083-1215

Residents First, LLC
Attn: Ara Darakjian
217 Pierce, Ste. 209
Birmingham, MI 48009



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Swistak & Levine P.C.
30833 Northwestern Hwy. Suite 120
Farmington, MI 48334-2581

U.S. Small Business Administration
2 North Street
Suite 320
Birmingham, AL 35203




                                     Respectfully submitted,

                                     HEILMAN LAW PLLC

Dated: July 15, 2024                 By:    /s/ Ryan D. Heilman
                                     Ryan D. Heilman (P63952)
                                     Attorneys for Debtor
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